Oren B. Haker, OSB No. 130162
Kristin E. Russell, OSB No. 200074
Daniel R. Kubitz, OSB No. 181381
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Telephone: 503.224.3380
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         Proposed Attorneys for Debtor
         and Debtor-in-Possession


                               UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF OREGON


 In re                                               Case No. 20-32485-pcm11

 BLUE STAR DOUGHNUTS LLC                             DEBTOR’S APPLICATION TO EMPLOY
 DBA BLUE STAR DONUTS,                               STOEL RIVES LLP AS ATTORNEYS FOR
                                                     DEBTOR AND DEBTOR-IN-POSSESSION
           Debtor.


           Blue Star Doughnuts, LLC, dba Blue Star Donuts, the above-captioned debtor and debtor-

 in-possession (“Debtor”), applies for an order authorizing the Debtor to employ Stoel Rives LLP

 (“Stoel Rives” or “Firm”) as chapter 11 counsel for the Debtor (“Employment Application”).

 The Debtor submits the Employment Application pursuant to section 327 of title 11 of the United

 States Code (“Bankruptcy Code”) and rule 2014 of the Federal Rules of Bankruptcy Procedure

 (“Bankruptcy Rules”) and rule 2014-1(b) of the Local Rules of Bankruptcy Procedure for the

 United States Bankruptcy Court for the District of Oregon (“Local Rules”). In support of this

 Motion, the Debtor incorporates by reference the Declaration of Katherine J. House in Support of

 First Day Papers, at dkt. no. 8 (“House Declaration”) and the Declaration of William Price in

 Support of First Day Papers, at dkt. no. 9 (“Price Declaration”), and respectfully states:

  Page 1      -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                  Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11    Doc 64    Filed 09/09/20
         1.       On August 26, 2020 (“Petition Date”), the Debtor filed its voluntary petition under

chapter 11 of the Bankruptcy Code and, as a “small business debtor” under section 101(51D) of the

Bankruptcy Code, elected treatment under subchapter V of chapter 11 of the Bankruptcy Code.

         2.       This Court has jurisdiction to consider the Employment Application pursuant to

section 1334 of title 28 of the United States Code (“Judicial Code”). This is a core proceeding

pursuant to section 157(b) of the Judicial Code. Venue is proper before this Court pursuant to

sections 1408 and 1409 of the Judicial Code.

                                     I.         Factual Background

         3.       As of the Petition Date, the Debtor has continued in possession of its property and

has continued to operate and manage its business affairs as a debtor-in-possession pursuant to

sections 1182 and 1184 of the Bankruptcy Code in accordance with interim and final first-day

relief granted by this Court, at dkt. nos. 29 (Gift Card Order), 33 (Interim Cash Management

Order), 49 (Interim Cash Collateral Order), and 51 (Wages Order).

         4.       The Debtor intends to remain in possession subject to any further order of this

Court.

         5.       On September 9, 2020, the Debtor filed its Statement of Financial Affairs, at dkt.

no. 58, and its Schedules of Assets and Liabilities, at dkt. no. 59.

         6.       Additional information about the Debtor’s business and affairs, capital structure,

and prepetition indebtedness, and the events leading up to the Petition Date, are set forth in the

House Declaration, at dkt. no. 8, and the Price Declaration, at dkt. no. 9, which are incorporated

herein by reference.

                                          II.    Relief Requested



  Page 2      -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                  Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11       Doc 64    Filed 09/09/20
         7.        By filing the Employment Application, the Debtor seeks approval by this Court to

employ Stoel Rives as counsel to the Debtor in accordance with the terms and conditions set forth

in that certain engagement letter between the Debtor and Stoel Rives effective on or about May 7,

2020, as amended on July 20, 2020 (“Engagement Letter”), a copy of which is attached hereto as

Exhibit A and incorporated herein by reference.

                                     III.   Basis for Relief Requested

         8.        Rule 2014(a) of the Bankruptcy Rules provides in relevant part: “An order

approving the employment of attorneys, accountants, appraisers, auctioneers, agents, or other

professionals pursuant to sections 327, 1103, or 1114 of the Bankruptcy Code shall be made only

on application of the trustee or committee. . . .”

         9.        The Debtor seeks to retain Stoel Rives as its attorneys pursuant to sections 327(a)

and 328(a) of the Bankruptcy Code. Section 327(a) provides that a debtor, subject to Court

approval:

                            may employ one or more attorneys, accountants, appraisers,
                            auctioneers, or other professional persons, that do not hold or
                            represent an interest adverse to the estate, and that are
                            disinterested persons, to represent or assist the [debtor] in
                            carrying out the [debtor]’s duties under this title.

11 U.S.C. § 327(a).

         10.       Section 328(a) provides that a debtor, subject to Court approval, “may employ . . .

a professional person . . . on any reasonable terms of employment.”

         11.       Rule 2014(a) requires that the Employment Application include:

                            . . . specific facts showing the necessity for the employment, the
                            name of the person to be employed, the reasons for the selection,
                            the professional services to be rendered, any proposed
                            arrangement for compensation, and, to the best of the applicant’s
                            knowledge, all of the person’s connections with the debtor,

  Page 3       -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                   Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11        Doc 64     Filed 09/09/20
                            creditors, any other party in interest, their respective attorneys
                            and accountants, the United States Trustee, or any person
                            employed in the office of the United States trustee. . . . .

                            . . . The application shall be filed and, unless the case is a chapter 9
                            municipality case, a copy of the application shall be transmitted by the
                            applicant to the United States trustee. . . . The application shall be
                            accompanied by a verified statement of the person to be employed setting
                            forth the person’s connections with the debtor, creditors, any other party in
                            interest, their respective attorneys and accountants, the United States
                            trustee, or any person employed in the office of the United States trustee.”

Fed. R. Bankr. P. 2014(a).

         12.       In May 2020, the Debtor selected Stoel Rives to advise the Debtor on its

restructuring options in light of the effects of Covid-19 on the Debtor’s financial condition. The

Debtor had been a long-standing client of Stoel Rives for corporate and employment matters

dating back to August 2015. Moreover, immediately prior to engaging Stoel Rives on

restructuring matters, the Debtor retained Stoel Rives to assist the Debtor with respect to its

commercial leases for its retail establishments in the Portland metropolitan area, given the

Debtor was already experiencing liquidity issues relating to the Oregon Governor’s Executive

Order 20-13, which forced all of the Debtor’s retail operations to shut down on March 17, 2020.

Thus, at the time the Debtor engaged Stoel Rives for legal assistance with respect to its financial

condition, Stoel Rives already understood the Debtor’s business and the principals managing the

Debtor’s day to day finances and operations.

         13.       In addition, the Debtor selected Stoel Rives as restructuring counsel because the

Firm has extensive experience and knowledge in corporate bankruptcy, corporate finance,

corporate governance and commercial litigation matters. While the Debtor hoped to restructure

its operations and balance sheet without having to resort to chapter 11, the Debtor selected Stoel

Rives, in part, on account of its expertise in chapter 11 restructurings and reorganizations. Stoel

  Page 4       -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                   Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11         Doc 64      Filed 09/09/20
Rives has been actively involved in a number of chapter 11 cases before this Court over the past

four years including: In re NORPAC Foods, Inc., case no. 19-62584 and In re West Linn Paper

Co., case no. 17-33992, as well as in chapter 11 cases in other jurisdictions, including In re

Southern Foods Group, LLC, case no. 19-36313 (Bankr. S.D. Tex.), In re Westmoreland Coal

Co., case no. 18-35672 (Bankr. S.D. Tex.), In re SunEdison, Inc., case no. 16-10992 (Bankr.

S.D.N.Y.), In re Windstream Holdings, Inc., case no. 19-22312 (Bankr. S.D.N.Y.), In re Caesars

Entertainment Operating Co., case no. 15-01145 (Bankr. N.D. Ill.).

         14.       Moreover, Oren Haker, lead lawyer for the Debtor, spent almost a decade

representing chapter 11 debtors in cases filed in the Bankruptcy Court for the Southern District

of New York, including: In re Lyondell Chemical Co., case no. 09-10023 (Bankr. S.D.N.Y.); In

re Northwest Airlines Corp., case no. 05-17930 (Bankr. S.D.N.Y.); In re Saint Vincent Catholic

Medical Centers, case no. 10-11963 (Bankr. S.D.N.Y.); and In re Adelphia Communications

Corp., case no. 02-41729 (Bankr. S.D.N.Y.). While Mr. Haker has not previously appeared

before this Court on behalf of a chapter 11 debtor, his experience representing other companies

in chapter 11 proceedings – along with his extensive work on behalf of companies in distress –

has provided the Debtor with steady guidance throughout the prepetition period and the Debtor is

confident that Mr. Haker and Stoel Rives can effectively represent the Debtor during the post-

petition period.

         15.       The Debtor believes that Stoel Rives is both well-qualified and uniquely able to

represent it in its chapter 11 case in an efficient and effective manner. If this Court requires the

Debtor to retain chapter 11 counsel other than Stoel Rives in connection with these proceedings,

the Debtor, its estate, and all parties in interest will be unduly and materially prejudiced, including

by the time and substantial expense necessary to enable alternate counsel to become familiar with
  Page 5       -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                   Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11     Doc 64     Filed 09/09/20
the Debtor’s business, its operations, and its attempts to restructure certain liabilities during the

prepetition period between May 5, 2020 and August 25, 2020. The Debtor, therefore, requests that

the Court authorize Stoel Rives to represent the Debtor and approve the terms of the engagement

as set forth in the Engagement Letter, subject to further order of this Court.

                                      IV.     Services to be Provided

         16.       Subject to further order of the Court, and consistent with the Engagement Letter,

the scope of the services provided to the Debtor include:

                   a.       providing legal advice regarding local rules, practices, precedent and
                            procedures, and providing substantive and strategic advice to the Debtor
                            with respect to its fiduciary duties, post-petition operations, relief from this
                            Court that may be necessary for the Debtor to restructure its debts and
                            reorganize its operations, alternative financing options to the extent
                            necessary, and formulation of a chapter 11 plan and prosecution of the
                            confirmation of its chapter 11 plan;

                   b.       appearing in Court, in depositions, and at any meeting with the United
                            States Trustee for the District of Oregon (“U.S. Trustee”) and any meeting
                            of creditors at any given time on behalf of the Debtor, as its counsel;

                   c.       working with counsel to parties in interest, including creditors, the U.S.
                            Trustee, and the subchapter V trustee;

                   d.       negotiating, drafting, reviewing, commenting, and/or preparing agreements,
                            motions, complaints, documents, and discovery materials to be filed with
                            the Court as counsel to the Debtor, including among other things the chapter
                            11 reorganization plan;

                   e.       advising and assisting the Debtor with respect to its reporting requirements
                            under the Bankruptcy Code;

                   f.       taking all necessary actions to protect and preserve the Debtor’s estate,
                            including prosecuting actions on the Debtor’s behalf, defending any action
                            commenced against the Debtor, and representing the Debtor in negotiations
                            concerning litigation in which the Debtor is involved, including objections
                            to claims filed against the Debtor’s estate;

                   g.       performing various services in connection with the administration of this
                            case, including, without limitation, (i) preparing certificates of no objection,
                            certifications of counsel, notices of fee applications and hearings, agendas,
  Page 6       -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                   Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11         Doc 64      Filed 09/09/20
                            and hearing binders of documents and pleadings, (ii) monitoring the docket
                            for filings and pending matters that require responses, (iii) preparing and
                            maintaining critical dates memoranda to monitor pending applications,
                            motions, hearing dates and other matters and the deadlines associated with
                            the same, (iv) preparing and filing on behalf of the Debtor all necessary
                            motions, notices, applications, answers, orders, reports and papers in
                            support of positions taken by the Debtor, and (v) handling inquiries and
                            calls from creditors and counsel to interested parties regarding pending
                            matters and the general status of the case and any necessary responses; and

                   h.       performing all other services assigned by the Debtor, as counsel to the
                            Debtor, provided that such services assigned by the Debtor constitute an
                            exercise of the Debtor’s business judgment in its capacity as a fiduciary of
                            its bankruptcy estate.

                                    V.     Professional Compensation

         17.       As set forth in the Engagement Letter, Stoel Rives intends to apply for

compensation for professional services rendered on an hourly basis and reimbursement of

expenses incurred in connection with this case, subject to this Court’s approval and in

compliance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, and any other applicable procedures and orders of the Court. The hourly rates of Stoel

Rives for this engagement are the same as, or substantially similar to, the Firm’s hourly rates for

other bankruptcy and restructuring matters, whether in or out-of-court, and regardless of whether

payment of legal fees incurred is contingent on allowance by a court of competent jurisdiction.

         18.       Stoel Rives current hourly rates for matters related to this chapter 11 case range as

follows:

                    Timekeepers                          Range of Hourly Rates
                    Partners                             $390-$795
                    Of Counsel                           $315-$710
                    Associates                           $265-$485
                    Paralegals/Professional Staff        $215-$325




  Page 7       -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                   Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11        Doc 64     Filed 09/09/20
         19.       Stoel Rives hourly rates are set at a level designed to compensate Stoel Rives

fairly for the work of its attorneys and paraprofessionals and to cover fixed and routine expenses.

Hourly rates vary with the experience and seniority of the individuals assigned. These hourly

rates are subject to periodic adjustments to reflect economic and other conditions.

         20.       As set forth in the Engagement Letter, Stoel Rives represented the Debtor during

the four-month period before the Petition Date pursuant to the range of hourly rates set forth in

paragraph 18 above. Moreover, these hourly rates are consistent with the rates that Stoel Rives

charges other comparable clients, regardless of the location of the case.

         21.       As set forth in the Engagement Letter, Stoel Rives agreed to cap the legal fees

incurred outside of a chapter 11 case in connection with an out-of-court restructuring in the

amount of $25,000 (“Prepetition Fee Cap”), and specifically, Stoel Rives agreed that the

Prepetition Fee Cap applied to legal services provided to the prepetition Debtor that related to (i)

an out-of-court workout of disputes with contract counterparties; (ii) a debt restructuring and

recapitalization plan; and (iii) prepetition legal work to prepare the prepetition Debtor for a

chapter 11 case.

         22.       Also pursuant to the Engagement Letter, Stoel Rives agreed to cap the legal fees

incurred by the Debtor between the Petition Date and the date on which the Debtor confirms a

chapter 11 plan for legal services that relate to representing the Debtor during the post-petition

period for the purpose of proposing a consensual chapter 11 plan of reorganization, in the

amount of $25,000 (“Post-petition Fee Cap,” and together with the Prepetition Fee Cap, the

“Fee Cap”). The Post-petition Fee Cap excludes any legal work provided on behalf of the

Debtor that relates to an adversary proceeding or unnecessary contested matters in the Debtor’s

chapter 11 case. Moreover, in the event the Debtor is unable to confirm a consensual chapter 11
  Page 8       -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                   Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11      Doc 64     Filed 09/09/20
plan pursuant to section 1191 of the Bankruptcy Code, the Post-petition Fee Cap shall not apply

and the Firm may seek allowance and payment of legal fees incurred in excess of the Post-

petition Fee Cap.

         23.       Stoel Rives agreed to provide the Debtor with the Fee Cap because of the

financial condition of the Debtor resulting from Covid-19 and due to the long-standing

relationship that the Firm had with the Debtor. For the avoidance of doubt, the Post-petition Fee

Cap is designed to encourage creditors and other interested parties in this chapter 11 case to

engage with the Debtor and Stoel Rives in a collaborative and transparent manner, and is

intended to incentivize creditors and interested parties to have their respective legal

representatives communicate in good faith before filing objections and pleadings that may not be

necessary to resolve their issues and/or preserve their rights.

         24.       Consistent with the Engagement Letter, it is Stoel Rives policy to charge its

clients in all areas of practice for identifiable, non-overhead expenses incurred in connection

with the client’s case that would not have been incurred except for representation of that client.

It is also Stoel Rives policy to charge its clients only the amount actually incurred by Stoel Rives

in connection with such items. Examples of such expenses include, postage, overnight mail,

courier delivery, transportation, overtime expenses, computer-assisted legal research,

photocopying, airfare, meals, and lodging.

         25.       To ensure compliance with all applicable deadlines in this chapter 11 case, from

time to time Stoel Rives utilizes the services of overtime practice assistants. Stoel Rives charges

fees for these services pursuant to the Engagement Letter, which permits Stoel Rives to bill the

Debtor for overtime secretarial and non-legal practice assistant charges that arise out of business

necessity.
  Page 9       -   Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                   Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11       Doc 64      Filed 09/09/20
         26.      Stoel Rives currently charges the Debtor $0.12 per page for standard duplication

in its offices in the United States. Notwithstanding the foregoing, and consistent with the Local

Rules, Stoel Rives will charge no more than $0.12 per page for standard duplication services in

this chapter 11 case. Stoel Rives does not charge its clients for incoming facsimile

transmissions. Computer-assisted legal research is used whenever the attorney determines that

using Westlaw is more cost-effective than using traditional (non-computer-assisted legal

research) techniques. Stoel Rives has negotiated a discounted rate for Westlaw computer-

assisted legal research and will charge the Debtor at the discounted rate for any legal research

that requires the use of Westlaw.

                    VI.      Compensation Received by Stoel Rives from the Debtor

         27.      Per the terms of the Engagement Letter, the Debtor transferred to the Firm

$25,000 as a security retainer for legal services to be provided and expenses to be incurred in

connection with this matter on or about May. Just prior to the filing of the petition on the

Petition Date, Stoel Rives drew down on the retainer in the amount of $25,000 on account of

legal fees incurred prior to the Petition Date. Fees for legal services provided to the Debtor

during the prepetition period in excess of $25,000 were written off by the Firm. As of the

Petition Date, Stoel Rives did not hold in trust any funds of the Debtor.

         28.      Pursuant to Bankruptcy Rule 2016(b), Stoel Rives has neither shared nor agreed

to share (a) any compensation it has received or may receive with another party or person, other

than with the partners, associates, and contract attorneys associated with Stoel Rives or (b) any

compensation another person or party has received or may receive.




  Page 10 -       Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                  Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11     Doc 64     Filed 09/09/20
         29.      Stoel Rives will maintain detailed, contemporaneous time records of expenses

incurred, with the rendering of legal services described above by category and nature of services

rendered during the Debtor’s chapter 11 case.

         30.      As disclosed in the Rule 2014 Verified Statement for Professionals filed herewith

(“Rule 2014 Verified Statement”), prior to the filing of the bankruptcy petition, Stoel Rives

received payments from the Debtor for prepetition legal services provided and costs incurred,

including for the chapter 11 filing fee, and received a security retainer that was exhausted prior

to the Petition Date.

         31.      Within the 12-month period preceding the Petition Date, Stoel Rives provided

legal services to the Debtor. The payment for legal services provided to the Debtor and expenses

incurred by the Firm on account of the work performed on behalf of the Debtor prior to the

Petition Date are disclosed on the Rule 2014 Verified Statement attached hereto.

         32.      Further, as stated in the 2014 Verified Statement, Stoel Rives is a “disinterested

person” within the meaning of section 101(14) of the Bankruptcy Code, as required by section

327(a) of the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtor’s

estate and has no connection to the Debtor, its creditors, or other parties in interest, except as

otherwise disclosed in the Rule 2014 Verified Statement.

         WHEREFORE, the Debtor respectfully requests that the Court enter the proposed form of

order, substantially in the form attached hereto as Exhibit B, authorizing the Debtor to engage

Stoel Rives as chapter 11 counsel to the Debtor in connection with this chapter 11 case.




  Page 11 -       Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                  Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11      Doc 64     Filed 09/09/20
          DATED: September 9, 2020.           STOEL RIVES LLP



                                              /s/ Oren B. Haker
                                              Oren B. Haker, OSB No. 130162
                                              Kristin E. Russell, OSB No. 200074
                                              Daniel R. Kubitz, OSB No. 181381
                                              oren.haker@stoel.com
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                                              Proposed Attorneys for Debtor and Debtor-in-
                                              Possession




  Page 12 -       Debtor’s Application to Employ Stoel Rives LLP as Attorneys for Debtor and
                  Debtor-in-Possession

106704706.4 0056668-00010


                            Case 20-32485-pcm11    Doc 64    Filed 09/09/20
                                         EXHIBIT A

                                  [ENGAGEMENT LETTER]




106704706.4 0056668-00010
                            Case 20-32485-pcm11   Doc 64   Filed 09/09/20
                                S      StoelRives,,o

                                                                                    OrenB. Haker
  May 7,2020                                                                      D. s03.294.9338
                                                                              oren.haker@stoel.com




   BY EMAIL

   Katie Poppe,CEO
   Mr. Will Price, CFO
   603 SW Arboretum Circle
   Portland, OF.9722L

   Re:     Engagement Letter - Corporate Restructuring Matter/Chapter 11

   Dear Ms. Poppe and Mr. Price:

   Thank you for selecting Stoel Rives LLP ("Stoel Rives" or "Firm") to represent Blue Star
   Doughnuts, LLC ("Client," "Blue Star," or "you"). We appreciatethe opportunity to act as your
   legaicounsel. This letter, and the attachedStandardTerms of Representation,set forth the terms
   on which Stoel Rives will provide legal servicesto you ("Terms of Engagement"),subjectonly to
   the applicable rules in the Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules"),
   corresponding local bankruptcy rules ("Local Rules"), and title 11 of the United States Code
   ("Bankruptcy Code").

   Scope of Engagement. You have engaged Stoel Rives to representyou in connection with a
   restructuring,and potential recapitalizationof, Blue Star's business("Engagement"), including, if
   ultimately necessary, a chapter 11 proceeding under the Bankruptcy Code. Because this
   Engagementis likely to influence and affect how you addressother discretemattersfor which we
   have provided legal servicesfrom time to time, such as certain employment or leasingmatters,we
   intend to fold those matters into this matter going forward to ensure the separatematters are
   handled with your overall restructuring goals in mind. To the extent another Stoel attorney has
   been handling discrete matters for you, that attorney will continue to do so, but this matter will
   require a degreeof coordination among the different attomeys at Stoel to ensurethat the work we
   are doing advancesClient's overall restructuring goals, and that coordination will be led by Ellen
   Ostrow and myself. Of course, we will monitor the time spent by individual Stoel attorneys to
   avoid any unnecessaryor duplication oflegal services.

    Client Relationship. As we have discussed,our client in the Engagementwill be Blue Star
    Doughnuts,LLC (defined above as Blue Star, Client, or you), and we will take our direction from

         sioel.*om ?60 SW Ninih Avenue,$uite 3000, Porflcnd, OR 97205
         T 503.224.33S0F 503.220.2480


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Exhibit A - Page 1 of 9
                       Case 20-32485-pcm11        Doc 64      Filed 09/09/20
   Katie Poppe
   Will Price
   May 7,2020
   Page2


   Blue Star's management.We understandthat Blue Star does not have any affiliated entities that
   will require legal assistancein connectionwith this matter, but in the event certain other business
   entities are affectedby our work for you in this matter, you agreethat we are not acting as counsel
   to any legal entity other than Blue Star, and that Stoel Rives may representclients adverseto these
   affiliated entities in matters unrelated to this Engagement. Moreover, to the extent any work we
   do for Blue Star triggers legal issuesfor its affiliated entities or any of its membersor managers,
   you consent to waive any conflict of interest that may arise between Blue Star and its affiliates,
   including any of its affiliates' membersor managers.

   For the avoidanceof doubt, our representationof Blue Star does not include acting as counselfor
   any member, manager, employee, officer, director or investor of Blue Star. In fact, in the event
   Blue Star files a chapter 11 petition, it will, as a chapter 11 debtor and debtor-in-possession,have
   a fiduciary responsibility to considerthe interestsof all of its stakeholders,including its unsecured
   creditors. By signing this letter, you acknowledge that, as a chapter 11 debtor and debtor-in-
   possession,Blue Star may be required to take certain actions that are detrimental to the interests
   of its members,managers,employees,offrcers, directors and investors if such actions maximize
   the enterprisevalue of Blue Star and by extension,ultimate recoveriesfor Blue Star's creditors.

   Conflicts. Stoel Rives represents companies, individuals and government agencies in many
   mattersthroughout many jurisdictions. During the time we are representingyou, we may represent
   other clients ("Firm clients") in disputesor transactionsadverseto you that are not substantially
   related to the Engagementand that do not materially limit our ability to representyou. Moreover,
   there may be creditors or interestedparties in Blue Star's chapter 11 proceeding that are Firm
   clients for whom we are or may be advising on matters unrelated to Blue Star and its interests.
   Prior to any chapter 11 filing, we will needto nrn a complete list of Blue Star's counterpartiesand
   creditors through our conflicts databaseto determine our Firm's "connections" with Blue Star's
   creditors and interested parties, and these "connections" will need to be disclosed to the
   Bankruptcy Court, pursuantto Bankruptcy Rule 2014,in connectionwith an application to employ
   our Firm as chapter 11 counselto Blue Star.

   By signing this letter, you consent to our present and future representationof these Firm clients
   and other adversaries/competitorson matters substantiallyunrelatedto this Engagement,some of
   whom may be creditors or interestedparties in a chapter 11 case of Blue Star. This consent, if
   provided, also allows Stoel Rives to take positions adverseto either you, or any of your affiliates,
   in any maffers (whether involving the samesubstantiveareasof law for which you have retained
   the Firm or some other unrelated areasof law, and whether involving transactional,litigation, or
   advisory matters), so long as two conditions are met: (1) the representationdoes not involve any
   work that we have done for you; and (2) the representationwould not place us in a position to use
   your confidential information adverselyto you.




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Exhibit A - Page 2 of 9
                      Case 20-32485-pcm11           Doc 64      Filed 09/09/20
   Katie Poppe
   Will Price
   May 7,2020
   Page3


   For the avoidanceof doubt, this consentdoesnot authorizeus to representa creditor or interested
   parfy in an actual dispute with Blue Star that relatesto this Engagement,whether during the pre-
   bankruptcy period of this Engagementor during a Blue Star chapter 11 proceeding. In the event
   Firm clients are interestedparties in your chapter 11 case,we will not representeither Blue Star or
   our Firm client in the chapter I 1 case,and any actual disputesthat you may have with an interested
   party that is a Firm client in a chapter 11 casewill need to be handled by conflicts counsel and is
   expresslycarved out from this Engagement.

   Becausethe work that we have been asked to perform on the Engagementis unrelated to any
   presentmatter we may be handling adverseto your and under the terms of our agreementwould
   be unrelatedto any future mafiers we may take on adverseto you, we do not believe that there is
   a material risk that your confidential information willbe used adverselyto you. Similarly, the lack
   of a relationship between our work for you under the Engagementand our work for other clients
   - current and future - suggeststo us that there is little risk that our efforts on your behalf will be
   affected. Although we do not believe that these factors would affect your representation,you
   should review this yourself.

   To ensurethat any consentyou provide is fully informed, I welcome any questionsyou have and
   recommendthat you review the issue of consentwith independentcounsel.Whether you actually
   review the issueof consentwith independentcounsel,however, is up to you.

   Principal Attorneys. Ellen Ostrow and I will be the attomeys principally responsible for the
   Engagement. Jeannie Lihs, our paralegal, will be dedicatedto this engagement,and wherever
   appropriate,Dan Kubitz, a junior bankruptcy associatewho is a member of our team, may handle
   certain discrete matters. However, as our representationprogressesand non-bankruptcy issues
   arise,other attorneysat Stoel Rives may becomeresponsiblefor and handle certain aspectsof our
   work for you. If you ever have any questionsor concernsabout how we staff matters, pleasedo
   not hesitateto let me know. Otherwise,we will use our judgment to determinehow to staff matters
   in the most cost-effective manner possible.



           I Note that as of the time of this Engagement,we have not identified
                                                                                 any matters for Firm clients
   adverseto Blue Star and will not--during the pre-chapter 11 filing period-accept a new matter for a
   Firm client adverseto Blue Star without confirming your consent,given the broad scopeof this
   Engagement. Nor do we envision a scenarioat this time where we could accepta new engagementwith a
   Firm client adverseto Blue Star during a chapter 11 representationand prior to confirmation of a
   reorganizationplan in chapter I 1 case. Practically speaking,the advanceconsent,insofar as it is enforced
   against Blue Star in connection with a matter that puts anotherFirm client's interestsin direct adversity to
   Blue Star's interests,is only likely to be enforced by our Firm post-confirmation of a chapter 11 plan, and
   even then, is not enforceableunlessthe matter is unrelatedto this Engagement.




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Exhibit A - Page 3 of 9
                      Case 20-32485-pcm11               Doc 64       Filed 09/09/20
   Katie Poppe
   Will Price
   May 7,2020
   Page4


  Retainer; Fees Incurred Prepetition. You paid us an advanceretainer of $25,000 on May 5,
  2020 to secureinitial payment of our fees for legal servicesthat we intend to provide undeithe
  terms of this Engagement,and any expensesthat we incur in connection with same.These funds
  will be depositedin our client trust account, and we will draw againstthem from time to time to
  satisff the fees incurred for legal servicesprovided and expensesincurred by us. We will advise
  you when we expect the retainer to be depleted, at which ii-e *e may ask you to replenish the
  retainer. If you decline our request,we may discontinue our work for ytu and withdraw from the
  Engagement,subjectto our ethical and professionalobligations and any necessarycourt approval.
  We will promptly retum any unusedfunds at the complJtion of this matter once all fees ibr legal
  servicesprovided and expensesincurred have been satisfied.

  In the event you decide to file for chapter 11 protection, this letter and the Terms of Engagement
  will be disclosed to the Bankruptcy Court in connection with your application to employ Stoel
  Rives as chapter 11 counsel. Should the Bankruptcy Court approve your application io imploy
  us, which we cannot predict with any certainty at this time, our fees for legai servic", p.o,oid"d
  and expensesincurred will be subject to the review of the Bankruptcy Court*prior to payment.

  Unless we agree to other anangements,the principal factors that determine our fees incurred in
  connection with the Engagementare the time devoted to the matter and the hourly rates of the
  attorneysand staff involved in the matter. My current hourly rate is $620 and Ellen's currenthourly
  rateis$435. Becauselhaveahabitofdelegatingmatterstojuniormembersofourteamwherever
  appropriate,our "blended" hourly rate will be lower than my hourly rate. For reference,our Firm,s
  hourly billing ratesfor lawyers currently range from $265 per hour for associatesto $795 per hour
  for partners.Time devotedby other professionalstaff is chargedat billing ratesranging from $215
  to $325 per hour. These billing rates are subject to changefrom time to time and are adjustedat
  least annually. Legal servicesprovided after the effective date of the new rateswill be cliarged at
  the new applicablerates.As explained in the enclosedStandardTerms of Representation,*- *uy
  take other factors into considerationin determining our fees.

  In-Firm Communications. From time to time, issuesmay arise relating to our duties under the
  professional conduct rules that apply to lawyers. These issues may involve conflict of interest
  questionsor even a dispute between Stoel Rives and a client over how we have handled a client
  matter. When such issuesarise, we may seekthe advice of ow Firm Counsel and loss prevention
  parbrers. We consider such consultations to be attorney-client privileged communications. We
  believe that it is in our clients' interests,as well as Stoel Rives' interest,that when legal ethics or
  related issues arise during a representation, we obtain expert analysis of our obligations.
  AccordinglY, )ou agree that if we determine in our own discretion O*ing the course of the
  representationthat it is either necessaryor appropriate to consult with our intemal or outside
  counsel, we have your consent to do so and that our representationof you shall not waive any




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Exhibit A - Page 4 of 9
                        Case 20-32485-pcm11           Doc 64      Filed 09/09/20
  Katie Poppe
  Will Price
  May 7,2020
  Page5


  attomey-client privilege Stoel Rives may have regarding
                                                          the confidentiality of our
  communicationswith counsel.

  Protected Health Information. We do not believe that this Engagement
                                                                            will require us to access,
  create, receive, use, maintain disclose or transmit Protectedftialth Information
                                                                                      (..pHI,,) as that
  term is defined in the privacy and security rules issuedunder the Health
                                                                           Insuranceportability and
  Accountability Act of 1996, as amended. In the event you believe
                                                                           that we need to review
  information that constitutesPHI, we requestthat you communicatewith
                                                                           us in advanceof sending
  the information so that we can confirm that such review is necessaryand,
                                                                               if so, sign a business
  associateagreementand arrangefor an appropriately securemethod of transmissioi.
                                                                                          we request
  that you do not email us pHI unlessyou are.riiog an email encryption progrum.

  h'1" event this Engagementrequiresthe filing of a chapter 11 proceeding,you
                                                                                  acknowledgethat
  suchproceedingsmay be unpredictableand may involve adverseconsequences
                                                                                  depending-onthe
  position taken by certain stakeholdersin the proceeding and rulings Uy
                                                                            tfre Baniruptcf Court.
  Moreover, the cost of representingyou in a chapter 11 pioceeOingwitt be determined,
                                                                                         in part, by
  the posture taken by certain stakeholdersand rulingr Uy th" n*t*pt"y
                                                                                Court. Thus, it is
  impossible for us to estimatewith any certainty what the total fees -uy L", nor can
                                                                                      we guarantee
  the outcome of a chapter 11 proceeding. You acknowledgethat youiouligation
                                                                                    to pay our fees
  and expensesis not contingent on the outcome of any chapter 11 proceedin!.

  This letter acknowledgesour receipt of the advancedepositin the amountof
                                                                           $25,000. If the Terms
  of Engagementmeet with your approval, pleasepromptly sign the letter in the spacebelow
                                                                                             and
  return a copy to me. Pleasecall or email me if you have any questions.Once again,let
                                                                                          me say
  how pleasedwe are that you have entrustedStoel Rives to representyou in the Engagement.
                                                                                             WL
  look forward to working with you.

  Very truly yours,




  MX
 OrenB. Haker




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Exhibit A - Page 5 of 9
                      Case 20-32485-pcm11           Doc 64      Filed 09/09/20
   Katie Poppe
   Will Price
   I|u
     f.ay7,2020
   Page6




   THE T]NDERSIGNED ACKNOWLEDGES AND ACCEPTS THE TERMS OF
   ENGAGEMENT, AND CONSENTS TO STOEL RIVES' REPRESENTATION
   NOTWITHSTAIIDING ACTUAL OR POTENTIAL CONFLICTS OF INTEREST
   DESCRIBEDABOVE.

   Blue Star

    By:      i

    ritre:       C( O
                  r/-t      /
    o"t",        S/ // 2 02 O




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Exhibit A - Page 6 of 9
                         Case 20-32485-pcm11   Doc 64   Filed 09/09/20
DocuSign Envelope ID: 9686CF37-3EDA-436A-A7EA-A6CA88A90B04




            July 16, 2020                                                                            Oren B. Haker
                                                                                   760 SW Ninth Avenue, Suite 3000
                                                                                               Portland, OR 97205
            BY EMAIL                                                                               D. 503.294.9338
                                                                                            oren.haker@stoel.com
            Blue Star Donuts, LLC
            Katie House, CEO
            Will Price, CFO
            603 SW Arboretum Circle
            Portland, OR 97221

            Re:      Amendments to Engagement Letter

            Dear Ms. House and Mr. Price:

            This letter amends the terms of Blue Star Donuts, LLC’s (“Client,” “Blue Star,” or “you”)
            engagement of Stoel Rives, LLP (“Stoel Rives” or “Firm”) as set forth in that certain engagement
            letter dated May 7, 2020 (“Engagement”) and, in connection with, seeks the consent of Micah
            Camden, Katie House, Basil Bullard, Gary “Chip” Rothenberger, Jr., and W.P. Price Tax and
            Accounting (each, a “Member,” and collectively, the “Members”) to represent Blue Star in an out-
            of-court restructuring and, if necessary, as a debtor and debtor-in-possession in chapter 11 of title
            11 of the United States Code (“Bankruptcy Code”) pursuant to the terms set forth in the May 7th
            engagement letter as amended herein.

            The terms of the engagement as set forth in the May 7th letter are amended as follows:

                  1. Our Firm has agreed to cap the fees that Blue Star incurs in connection with this
                     Engagement in the amount of $25,000 for legal services provided on behalf of Blue Star
                     that relate to (i) an out-of-court workout of Blue Star’s liabilities to existing creditors, (ii)
                     a debt restructuring and recapitalization plan, and (iii) legal preparation for a chapter 11
                     filing, including preparation of first day and second day motions (“Prepetition Fee Cap”).
                     The Prepetition Fee Cap excludes, for the avoidance of doubt, any legal work provided on
                     behalf of Blue Star that relates to a litigation matter.

                  2. Our Firm has agreed to cap the fees that Blue Star incurs in connection with this
                     Engagement in the amount of $25,000 for legal services provided on behalf of Blue Star
                     as a chapter 11 debtor and debtor-in-possession that relate to preparation and negotiation
                     of a “consensual” chapter 11 plan (“Postpetition Fee Cap”). The Postpetition Fee Cap
                     excludes, for the avoidance of doubt, any legal work provided on behalf of Blue Star as a
                     debtor and debtor-in-possession that relates to an adversary proceeding or contested matter
                     in its chapter 11 case, including without limitation responding formally or informally to a
                     complaint, objection, response, reply, or any other filing in the Bankruptcy Court or in any
                     other court of competent jurisdiction.


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   Exhibit A - Page 7 of 9
                              Case 20-32485-pcm11             Doc 64      Filed 09/09/20
DocuSign Envelope ID: 9686CF37-3EDA-436A-A7EA-A6CA88A90B04




            Katie House, CEO
            Will Price, CFO
            July 16, 2020
            Page 2



                3. You acknowledge that, in the event Blue Star files for chapter 11 protection and our Firm
                   determines that Blue Star is unable to confirm a consensual chapter 11 plan under section
                   1191 of the Bankruptcy Code, the Postpetition Fee Cap shall not apply and our Firm may
                   seek allowance and payment of legal fees incurred in excess of the Postpetition Fee Cap.

            Except as set forth in this paragraph, the terms and conditions of the May 7, 2020 engagement
            letter shall remain in effect as if fully restated herein, except as may be modified by an order of a
            Bankruptcy Court.

            By executing this letter, each Member acknowledges that our Firm’s only client in connection with
            this Engagement is Blue Star and that our Firm does not represent the interests of each Member in
            Blue Star. Moreover, each Member acknowledges our Firm’s prior representation of Katie House
            in connection with amendments to Blue Star’s operating agreement and our Firm’s ongoing
            representation of Micah Camben in connection with matters unrelated to this Engagement (“Other
            Work”). While our Firm does not believe that its Other Work creates a conflict in connection with
            our work for Blue Star in connection with this Engagement, we request that Blue Star and each
            member of Blue Star consent to waive any conflict that may exist or may arise in the future relating
            to our Firm’s ongoing representation of Blue Star in connection with this Engagement. To ensure
            that each Member’s consent is fully informed, I welcome any questions and recommend that each
            Member review the issue of consent with independent counsel. Whether each Member actually
            reviews the issue of consent with independent counsel, however, is up to each Member.

            Very truly yours,



            Oren B. Haker




            107335456.1 0056668-00010
      Exhibit A - Page 8 of 9
                                 Case 20-32485-pcm11         Doc 64    Filed 09/09/20
DocuSign Envelope ID: 9686CF37-3EDA-436A-A7EA-A6CA88A90B04




            Katie House, CEO
            Will Price, CFO
            July 16, 2020
            Page 3


            THE UNDERSIGNED ACKNOWLEDGES AND ACCEPTS THE TERMS OF THE
            ENGAGEMENT AS AMENDED BY THIS LETTER, AND CONSENTS TO STOEL
            RIVES’ REPRESENTATION NOTWITHSTANDING ACTUAL OR POTENTIAL
            CONFLICTS OF INTEREST DESCRIBED ABOVE.



             By:
                              Katherine M. House, CEO of
                               Blue Star Doughnuts, LLC
                             and in her capacity as a Member
             Date: 7/17/2020


             By:
                              Micah L. Camden, a Member
                     7/16/2020
             Date:



             By:
                                  Basil Bullard, a Member
                     7/20/2020
             Date:



             By:
                       Gary “Chip” Rothenberger, Jr., a Member
                      7/20/2020
             Date:


            W.P. Price Tax and Accounting, LLC, a Member

             By:
                                    Will Price, Manager
                     7/17/2020
             Date:




            107335456.1 0056668-00010
      Exhibit A - Page 9 of 9
                                Case 20-32485-pcm11          Doc 64   Filed 09/09/20
                                         EXHIBIT B

                                    [PROPOSED ORDER]




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                            Case 20-32485-pcm11   Doc 64   Filed 09/09/20
                               UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF OREGON

In re                                             Case No. 20-32485-pcm11

BLUE STAR DOUGHNUTS LLC,                          ORDER GRANTING DEBTOR’S
DBA BLUE STAR DONUTS,                             APPLICATION TO EMPLOY STOEL
                                                  RIVES LLP AS ATTORNEYS FOR
                       Debtor.                    DEBTOR AND DEBTOR-IN-
                                                  POSSESSION



         THIS MATTER having come before the Court on the above-captioned debtor and debtor-

in-possession’s (“Debtor”) Application to Employ Stoel Rives LLP as Attorneys for Debtor and

Debtor-in-Possession (“Employment Application”), at dkt. no. __; the Court having reviewed

the Employment Application, the Engagement Letter1 and the Rule 2014 Verified Statement of




1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
Employment Application.
 Page 1 - ORDER GRANTING DEBTOR’S APPLICATION TO EMPLOY STOEL
              RIVES LLP AS ATTORNEYS FOR DEBTOR AND DEBTOR-IN-
              POSSESSION
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                            Case 20-32485-pcm11    Doc 64   Filed 09/09/20
Stoel Rives LLP (“Applicant”); and finding that, the connections disclosed in the Rule 2014

Verified Statement of the Applicant do not constitute adverse interests, the Applicant represents

no interest adverse to the Debtor or to the estate on the matters upon which the Applicant is to be

engaged, the Applicant is disinterested, the Applicant’s employment is necessary and in the best

interests of the estate, and the time for filing an objection have expired or, for timely filed

objections, such objections have been resolved,

         IT IS HEREBY ORDERED that

         1.        The Motion is granted.

         2.        The Debtor is authorized to employ the Applicant as attorneys to represent the

Debtor in the matters under, arising in or related to this case in accordance with title 11 of the

United States Code (“Bankruptcy Code”), subject to the terms and conditions set forth in the

Applicant’s Engagement Letter.

         3.        The terms and conditions of the employment of the Applicant, as set forth in the

Engagement Letter attached as Exhibit A to the Motion, are approved.

         4.        Compensation shall be allowed and set by the Court to be paid upon Applicant’s

compliance with the procedures set forth in sections 330 and 331 of the Bankruptcy Code.

                                                  ###




  Page 2      - ORDER GRANTING DEBTOR’S APPLICATION TO EMPLOY STOEL
                RIVES LLP AS ATTORNEYS FOR DEBTOR AND DEBTOR-IN-
                POSSESSION
107958557.3 0056668-00010


                            Case 20-32485-pcm11      Doc 64     Filed 09/09/20
         I certify that I have complied with LBR 9021-1(a).


 Presented by:

 STOEL RIVES LLP




 Oren B. Haker, OSB No. 130162
 Kristin E. Russell, OSB No. 200074
 Daniel R. Kubitz, OSB No. 181381
 oren.haker@stoel.com
 kristin.russell@stoel.com
 daniel.kubitz@stoel.com
 760 S.W. Ninth Avenue, Suite 3000
 Portland, OR 97205
 Telephone: 503.224.3380
 Facsimile: 503.220.2480
 Email: oren.haker@stoel.com
           daniel.kubitz@stoel.com

 Proposed Attorneys for Debtor
 and Debtor-in-Possession

cc:      List of Interested Parties




  Page 3      - ORDER GRANTING DEBTOR’S APPLICATION TO EMPLOY STOEL
                RIVES LLP AS ATTORNEYS FOR DEBTOR AND DEBTOR-IN-
                POSSESSION
107958557.3 0056668-00010


                            Case 20-32485-pcm11   Doc 64      Filed 09/09/20
                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                             )
Blue Star Doughnuts LLC, dba Blue )           20-32485-pcm11
                                    Case No. ________________
Star Donuts,                      )          Stoel Rives LLP
                                  ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                         ) FOR PROPOSED PROFESSIONAL

Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
No exceptions

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
See ATTACHMENT #1 (September 9, 2020). Applicant will supplement this response as needed.




1114 (11/30/09)     Page 1 of 3

                           Case 20-32485-pcm11        Doc 64     Filed 09/09/20
14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
Applicant received the following payments from Blue Star Doughnuts ("BSD") in the year prior to filing
of this case: $632.00 (10/25/19), $1,853.00 (12/30/19), $3,468.55 (1/23/20), $690.00 (3/4/20), $158.40
(3/17/20), $917.00 (3/18/20), and $316.00 (3/23/20). Applicant received a security retainer from BSD of
$25,000 on or about 5/5/20. Immediately prior to filing the Petition, $25,000 was applied from the
retainer to current fees and costs incurred prior to the Petition and outstanding prepetition fees were
written off. Applicant holds no funds of the Debtor in its trust account.

16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
Katherine J. House aka Katherine J. Poppe owns 46 common units of Debtor, is the Manager and Chief
Executive Officer of Debtor, and is described in #21 as a guarantor of the Debtor.




17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
See ATTACHMENT #1 (September 9, 2020), regarding Applicant's representation of Katherine J. House
aka Katherine J. Poppe in the last 18 months.




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
None




1114 (11/30/09)     Page 2 of 3

                           Case 20-32485-pcm11         Doc 64   Filed 09/09/20
21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
Katherine J. House aka Katherine J. Poppe, guaranteed obligations owed to Zions Bancorporation, N.A.
dba The Commerce Bank of Oregon pursuant to a commercial guaranty dated February 26, 2019 in an
undisclosed amount and without a security interest.
Katherine J. House, aka Katherine J. Poppe, guaranteed obligations owed to Wells Fargo Bank, N.A.
pursuant to a Small Business Lending Credit Application and Personal Guarantee dated March 3, 2020
in an undisclosed amount and without a security interest.



22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
None




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
See #21 above.




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
None




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                               /s/ Oren B. Haker
                                                                               Applicant
                                                               Oren B. Haker, Partner
                                                               Stoel Rives LLP
1114 (11/30/09)    Page 3 of 3                                 760 SW Ninth Ave, #3000
                                                               Portland, OR 97205
                           Case 20-32485-pcm11       Doc 64    Filed 09/09/20
In re Blue Star Doughnuts LLC, dba Blue Star Donuts                        Case No. 20-32485-pcm11

                                ATTACHMENT #1 (September 9, 2020)

In connection with its representation of Blue Star Doughnuts LLC, dba Blue Star Donuts, in its
capacity as debtor and debtor-in-possession (“Debtor”) in case no. 20-32485, Stoel Rives LLP
(“Stoel Rives”) researched its client database to determine whether it had any conflicts or other
connections subject to disclosure pursuant to the Federal Rules of Bankruptcy Procedure
(“Bankruptcy Rules”) 2014(a). A list of the individuals and entities that were run through Stoel
Rives’ client database (“Potential Parties in Interest”) is annex hereto as Schedule 1.

To the extent that such research indicated that Stoel currently represents, as of the date on which
the Debtor filed its voluntary petition (“Petition Date”), or formerly represented within the past
two years (or Stoel Rives’ attorneys formerly represented or were employed by) the Potential
Parties in Interest (or affiliates of such parties), in matters unrelated to this case, the identities of
such parties are set forth in Schedule 2. Stoel Rives does not represent any Potential Parties in
Interest in connection with the legal services it intends to provide the Debtor.

Stoel Rives also represents certain of its other clients in matters related to the Debtor, as set forth
below. None of these matters relates to the legal services for which the Debtor seeks to engage
Stoel Rives.

         a.        Stoel represents Micah Camden and certain of his investments on matters unrelated
                   to the Debtor.

Stoel Rives also represented certain former clients in matters related to the Debtor, as set forth
below. None of these matters relates to the legal services for which the Debtor seeks to engage
Stoel Rives.

         a.        Stoel represented Katherine J. House aka Katherine J. Poppe with respect to certain
                   contract negotiations on or about April 2018.

As of the Petition Date, Stoel also represents certain of its other clients in matters adverse to the
following creditors of the Debtor: Adobe Systems Incorporated; Automatic Data Processing (dba
ADP); Aflac, Incorporated; Apple, Inc.; Bank of America; Centurylink; Centurylink of
Washington; City Center Parking; Facebook, Inc.; Comcast Cable Communications, LLC (dba
Xfinity); Farmers Insurance Group; Google, LLC; Infinisource Holdings Inc.; Jacobsen Salt Co.;
Northwest Natural Gas Company; PacifiCorp; Portland General Electric; Square, Inc.; Sysco
Foods; TriMet Capital Projects; TriMet Corporate; US Foods, Inc.; and Wells Fargo Bank, N.A.

I am not related, and to the best of my knowledge, no attorney or staff of Stoel Rives is related, to
any United States District Judge or United States Bankruptcy Judge in the District of Oregon or
the United States Trustee for such district or any attorney in the office thereof. Stoel Rives’
connections to the foregoing individuals are set forth below:



                                                                                         Attachment #1
                                                                                                Page 1
106709524.4 0056668-00010


                            Case 20-32485-pcm11      Doc 64     Filed 09/09/20
          a.      With respect to the Oregon State Bar Debtor-Creditor Section, I serve as a member
                  of the Executive Committee with the Honorable Trish M. Brown; as a member of
                  the Local Rules/Forms Committee with the Honorable David W. Hercher; as the
                  Executive Committee Liaison on the Northwest Bankruptcy Institute Committee
                  with the Honorable David W. Hercher; and as a member of the Saturday Session
                  Committee with the Honorable Peter C. McKittrick. At the most recent Saturday
                  Session in February 2020, I participated on a panel with the Honorable David W.
                  Hercher and Steven Arnot, Assistant United States Trustee in the District of
                  Oregon, relating to the Small Business Reorganization Act.

          b.      Jeannie Lihs and Lisa Petras, paralegals at Stoel Rives, formerly worked with
                  the Honorable David W. Hercher at Miller Nash Graham & Dunn LLP, prior to his
                  appointment as a Bankruptcy Court Judge in the District of Oregon.

          c.      Kennon Scott, associate attorney at Stoel, and the Honorable Peter C. McKittrick
                  sit on the board of the United States District Court of Oregon Historical Society.

          d.      Katie Moesche, client services manager at Stoel, formerly worked with
                  the Honorable Peter C. McKittrick at Gleaves Swearingen LLP and Farleigh Wada
                  Witt LLP, and with the Honorable Trish M. Brown at Farleigh Wada Witt LLP,
                  prior to their appointment as Bankruptcy Court Judges in the District of Oregon.

          e.      Kassim Ferris, attorney and partner at Stoel, formerly worked with the Honorable
                  Trish M. Brown at Lane Powell PC, prior to her appointment as Bankruptcy Court
                  Judge in the District of Oregon.

Stoel Rives is a member of the Attorneys’ Liability Assurance Society (“ALAS”), a mutual
insurance company owned by its member insured. Certain of the legal professionals engaged in
connection with or by Potential Parties in Interest in this case are or may also be ALAS insureds.

Certain Stoel Rives’ attorneys or staff, or the Stoel Rives retirement plan, may own equity and
debt securities – directly or through mutual funds, trusts and portfolios – issued by Potential Parties
in Interest. In addition, clients of Stoel may own equity and debt securities – directly or through
mutual funds, trusts and portfolios – issued by Potential Parties in Interest. To the best of my
knowledge, based on an inquiry of attorneys directly providing legal services to the Debtor, none
of the attorneys directly hold units of the Debtors.

Attorneys and staff at Stoel Rives or their spouses or relatives may be current or former employees
or officers and directors of Potential Parties in Interest and may have beneficial ownership of
securities issued by, or banking, insurance, brokerage or money management relationships with
Potential Parties in Interest. Attorneys and staff of Stoel Rives may have relatives or spouses who
are members of the law firms involved in this case or are employed by Potential Parties in Interest.
Other than with respect to relationships that Stoel Rives’ attorneys and staff may have with the
United States Bankruptcy Court for the District of Oregon, the United States District Court for the
District of Oregon, and the Office of the United States Trustee for the District of Oregon, neither
I nor Stoel Rives has conducted any investigation of its attorneys’ or staff members’ employment,
                                                                                       Attachment #1
                                                                                              Page 2
106709524.4 0056668-00010


                            Case 20-32485-pcm11     Doc 64     Filed 09/09/20
banking, insurance, brokerage or investment activities or familial connections in preparing this
statement.

Stoel does not represent or hold any interest adverse to the Debtor or its estate with respect to the
legal services to be provided to the Debtor in this case.

Stoel does not represent any creditor or other parties in interest in any matter adverse to the Debtor
with respect to the legal services to be provided to the Debtor in this case.

These disclosures will be supplemented as needed, as further information is provided.




                                                                                      Attachment #1
                                                                                             Page 3
106709524.4 0056668-00010


                            Case 20-32485-pcm11    Doc 64      Filed 09/09/20
                                             SCHEDULE 1


 Category                     Party in Interest
 Debtor                       Blue Star Doughnuts LLC, dba Blue Star Donuts
 Debtor Affiliate             Basil Bullard
 Debtor Affiliate             Gary “Chip” Rothenberger, Jr.
 Debtor Affiliate             Katherine J. Poppe aka Katherine J. House
 Debtor Affiliate             Micah L. Camden
 Debtor Affiliate             W.P. Price Tax and Accounting, LLC
 Lessor                       Division33 LLC
 Lessor                       DS Progress Ridge LLC
 Lessor                       Donahue Schriber Realty Group LLC
 Lessor                       Donahue Schriber Realty Group Inc., general partner of Donahue
                              Schriber Realty Group, L.P.
 Lessor                       Madison 34 Ray LLC
 Lessor                       Morrison Development, LLC
 Lessor                       MVUAA LLC
 Lessor                       Pitman Properties V, LLC
 Lessor                       Riva Portland, LLC
 Lessor                       The Port of Portland
 Lessor                       Yetisen, Ismet
 Licensee                     Dermer Holdings, LLC
 Manager/Member               Division33 Development LLC
 Manager/Member               MVUAA Development LLC
 Manager/Member               Urban Asset Advisors, LLC
 Creditor                     AAA Heating & Cooling, Inc.
 Creditor                     Adobe Creative Cloud
 Creditor                     Aflac, Incorporated
 Creditor                     Alondra Echiverri
 Creditor                     Atlasta Lock Company, Inc.
 Creditor                     Auto Chlor System of Oregon, Inc.
 Creditor                     Automatic Data Processing, Inc. (dba ADP)
 Creditor                     Bank of America
 Creditor                     Belshaw Adamatic Bakery Group
 Creditor                     Bill.com Holdings, Inc., dba bill.com
 Creditor                     Bitterman Salt Co.
 Creditor                     Black Cat Plumbing, Inc.
 Creditor                     Black Rabbit Service LLC
 Creditor                     Brandon Noe Uluan, dba Pacific Northwest Hood Cleaning
 Creditor                     Brannon Ritner Lobdell, Architecture LLC
 Creditor                     Breckenridge Storefronts & Entrances, LLC
 Creditor                     Bulldog Mechanical & Remodeling Inc.
 Creditor                     Cameron Allen Hollingshead, dba Perfect Pour Services
 Creditor                     Cascade Centers Inc.
                                                                                      Attachment #1
                                                                                             Page 4
106709524.4 0056668-00010


                            Case 20-32485-pcm11      Doc 64    Filed 09/09/20
 Category                     Party in Interest
 Creditor                     CenturyLink, Inc.
 Creditor                     City Center Parking, Inc.
 Creditor                     City Houses, Inc.
 Creditor                     Cleanline LLC, dba Pro Cleaning Service
 Creditor                     Cloudburst Recycling, Inc.
 Creditor                     Coava Coffee Roasters, Inc.
 Creditor                     Comcast Cable Communications, LLC, dba Xfinity
 Creditor                     Complete Printing, Inc., dba NW Printed Solutions
 Creditor                     Dana Lofstrom
 Creditor                     Dolce Software
 Creditor                     DoorDash, Inc.
 Creditor                     Dynamic HVAC LLC
 Creditor                     eCard Systems, Inc.
 Creditor                     Ecoguard Pest Management Inc.
 Creditor                     Evergreen State Holdings, LLC, aka GuuD
 Creditor                     Face Lift Services, Inc. (window cleaning)
 Creditor                     Facebook, Inc.
 Creditor                     Farmers Insurance Group
 Creditor                     FedEx Office Print & Ship Center
 Creditor                     Ford Motor Credit Co.
 Creditor                     Food Services of America aka FSA Store Inc.
 Creditor                     Gary P. Hansen, dba Lady-Lane Farm (aka Garry’s Meadow Fresh)
 Creditor                     General Parts, L.L.C.
 Creditor                     Global Trading LLC
 Creditor                     Google Business Services
 Creditor                     Gron, LLC
 Creditor                     GrubHub Inc.
 Creditor                     GT&P, LLC, dba 10th Avenue Liquor
 Creditor                     H&H Supply LLC, dba Belmont Coffee Service
 Creditor                     Infinisource, Inc.
 Creditor                     Jacobsen Salt Co.
 Creditor                     James Hallsey Ameeti, dba Perfect Pour Services
 Creditor                     JKR, LLC, dba Service Linen Supply
 Creditor                     Jon Cox Painting
 Creditor                     Kaiser Permanente
 Creditor                     Kate Bingaman Burt
 Creditor                     Kymo Enterprises, LLC, dba Sleeve A Message
 Creditor                     Legacy Property Management
 Creditor                     Lucas Klotz
 Creditor                     MBA Administrators
 Creditor                     Mcinnis Waste Systems, Inc., dba Republic Services of Portland
 Creditor                     Miir Flagship, LLC
 Creditor                     Modified Inc.
 Creditor                     Momo Cocoa LLC
                                                                                      Attachment #1
                                                                                             Page 5
106709524.4 0056668-00010


                            Case 20-32485-pcm11      Doc 64    Filed 09/09/20
 Category                     Party in Interest
 Creditor                     My Plumbing Services LLC
 Creditor                     NW Natural Gas Company
 Creditor                     Oregon Screen Impressions, Inc.
 Creditor                     PacifiCorp, dba Pacific Power
 Creditor                     Pension Plan Specialists, PC
 Creditor                     Perkins & Company, PC
 Creditor                     Pitman Restaurant Equipment, Inc.
 Creditor                     Portland Cider Company LLC
 Creditor                     Portland Custom Packaging
 Creditor                     Portland Disposal and Recycling, Inc.
 Creditor                     Portland General Electric Company
 Creditor                     Portland Visitors Map LLC
 Creditor                     Portland Water Bureau, Portland, Oregon
 Creditor                     Professional Benefits Services
 Creditor                     Puratos Corporation
 Creditor                     Quick Pak Inc.
 Creditor                     Quickbooks Online (Intuit Inc. – parent company)
 Creditor                     Restaurant Technologies, Inc.
 Creditor                     R.K.B., Inc. dba Courtesy Ford
 Creditor                     Riad Nasry, dba Alfa Electric
 Creditor                     Robert John Cote, dba Robert J. Cote Construction
 Creditor                     Rsk Service Corporation
 Creditor                     Runamok Maple, LLC
 Creditor                     SAIF Corporation
 Creditor                     Samantha Hage
 Creditor                     Screen Gems, Inc.
 Creditor                     Shane Thomas
 Creditor                     Smith Teamaker, LLC
 Creditor                     SoundTrack My Brand, aka Soundtrack Your Brand Sweden AB
 Creditor                     Square, Inc.
 Creditor                     Sysco Portland, Inc.
 Creditor                     Terra Hydr, Inc.
 Creditor                     The Chefs Warehouse West Coast, LLC
 Creditor                     The Gillihan Group, Inc., dba Black Rabbit
 Creditor                     Travel Portland
 Creditor                     TriMet (fka Tri-County Metropolitan Transportation District of
                              Oregon)
 Creditor                     Tyler Hickman
 Creditor                     Uline Inc.
 Creditor                     Universal Fire Equipment, Inc.
 Creditor                     Uprinting.com
 Creditor                     US Foods, Inc.
 Creditor                     WebstaurantStore Food Service Equipment and Supply Company
 Creditor                     Wilderness, LLC
                                                                                      Attachment #1
                                                                                             Page 6
106709524.4 0056668-00010


                            Case 20-32485-pcm11      Doc 64    Filed 09/09/20
 Category                     Party in Interest
 Creditor                     Wells Fargo Bank, N.A.
 Creditor                     Zions Bancorporation, dba Commerce Bank of Oregon
 Connection                   Bae’s Hot Chicken LLC
 Connection                   Boxer Ramen LLC
 Connection                   Heart Pizza, LLC
 Connection                   Little Bean
 Connection                   SuperDeluxe
 Connection                   That Good Good LLC
 Connection                   Ya Ya LLC
 Potential Investor           Anthony Paul Brenneke
 Potential Investor           William ‘Butch’ Bannon
 Potential Investor           Stuart Zlotolow
 Potential Investor           Phillip Niarchos
 Potential Investor           Sortis, LLC
 Potential Investor           Spyros Niarchos
 Potential Investor           Stavros Niarchos Foundation
 Potential Investor           Nicholas Rugoff




                                                                                  Attachment #1
                                                                                         Page 7
106709524.4 0056668-00010


                            Case 20-32485-pcm11     Doc 64   Filed 09/09/20
                                                 SCHEDULE 2


    Category                  Creditor1
    Current Client            Adobe Systems Incorporated
    Current Client            Apple, Inc.
    Current Client            Bae’s Hot Chicken LLC
    Current Client            Boxer Ramen LLC
    Current Client            Centurylink
    Current Client            Centurylink of Washington
    Current Client            DoorDash, Inc.
    Current Client            Facebook, Inc.
    Current Client            Farmers Insurance Group
    Current Client            Google LLC
    Current Client            Heart Pizza, LLC
    Current Client            Infinisource Holdings Inc.
    Current Client            Jacobsen Salt Co.
    Current Client            Kaiser Foundation Health Plan
    Current Client            Kaiser Foundation Hospitals
    Current Client            Little Bean
    Current Client            Northwest Natural Gas Company
    Current Client            PacifiCorp
    Current Client            Port of Portland
    Current Client            Portland General Electric
    Current Client            R.K.B., Inc. dba Courtesy Ford
    Current Client            Square, Inc.
    Current Client            SuperDeluxe
    Current Client            Sysco Foods
    Current Client            TriMet Capital Projects
    Current Client            TriMet Corporate
    Current Client            Ya Ya LLC
    Former Client             Camden’s Catsup LLC
    Former Client             Katie Poppe aka Katherine J. Poppe
    Former Client             Urban Asset Advisors, LLC
    Former Client             US Foods, Inc.
    Former Client             Zions Bancorporation, N.A., dba Commerce Bank of Oregon




1
 Inclusion of an entity or individual on Schedule 2 is for purposes of disclosing connections as required by Federal
Rule of Bankruptcy Procedure 2014. It should not be viewed as a statement that Stoel Rives has a current
attorney/client relationship with any person or entity listed on this schedule.
                                                                                                   Attachment #1
                                                                                                          Page 8
106709524.4 0056668-00010


                            Case 20-32485-pcm11            Doc 64       Filed 09/09/20
